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                        UNITED STATES DISTRICT COURT
                                  FOR THE
                            DISTRICT OF VERMONT

George A. Murphy,

              Petitioner,

              v.                              Civil Action No. 5:20–cv–166-gwc-jmc

Thomas J. Donovan,

              Respondent.

                                      ORDER
                                      (Doc. 1)

      Petitioner George A. Murphy, through counsel, seeks to file a petition for writ

of habeas corpus pursuant to 28 U.S.C. § 2254 and the rules governing proceedings

thereunder.

      The Clerk of this Court is respectfully directed to cause to be served a copy of

the petition herein and this Order upon Respondent and the Office of the Attorney

General for the State of Vermont. Respondent shall within 30 days after the date of

this Order file an answer as required by Rule 5, 28 U.S.C. § 2254 and show cause—

if any there be—why the writ should not issue as prayed for. Any reply to

Respondent’s answer shall be filed within 30 days after service of the answer upon

Petitioner.

      Dated at Burlington, in the District of Vermont, this 6th day of

November 2020.


                                              /s/ John M. Conroy            .
                                              John M. Conroy
                                              United States Magistrate Judge
